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          IN THE   UNITED   STATES   DISTRICT      COURT     FOR THE
                    SOUTHERN DISTRICT        OF   GEORGIA
                        STATESBORO DIVISION




ANTONIO LAMONT MURRAY,                *

     Petitioner,                      *
                                      *       CV   614-128
     v.                               *       (Formerly CR 612-0 05)

UNITED STATES OF AMERICA,             *
                                      •


     Respondent.                      *




                               ORDER




     Petitioner     Antonio    Lamont       Murray   filed      a   motion   to

vacate,   set aside or correct sentence under 28 U.S.C.                § 2255

on December 29,     2014.     Petitioner thoroughly and adequately

represented himself in the district court, filing a memorandum

in support of his petition and a reply brief.                 On November 12,

2015, however,     the United States Magistrate Judge issued a

Report and Recommendation to deny his petition on the merits.

Over Petitioner's objections,             this Court adopted the Report

and Recommendation on January 19, 2016, and closed the case.

     Petitioner     appealed    and moved          for   a    Certificate    of

Appealability with the Eleventh Circuit.                     Petitioner again
adequately represented himself as evidenced by his coherent

motion for a Certificate of Appealability, which resulted in

a fifteen-page opinion by the Honorable Beverly B. Martin
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denying the motion on the merits.                     Recently,       the Eleventh

Circuit has granted Petitioner a sixty-day extension within

which to file a motion for reconsideration of Judge Martin's

decision.


      Presently before this Court is Petitioner's request for

a   copy   of    his    §    2255   motion     (13    pages    plus     a   16-page

memorandum      in    support)      and of    the    Government's       responsive

brief (46 pages (140 pages including exhibits)).                        Petitioner

explains that he         lost these documents           in transport between

prisons.

      The Court is not unsympathetic to the problems facing a

habeas litigant.            Nevertheless, an indigent litigant is not

entitled to free copies of documents unless they are necessary

to decide an issue presented by suit or appeal.                   See 28 U.S.C.

§ 753(f)1 (A defendant may receive a free transcript only if

the court "certifies that the suit or appeal is not frivolous

and   that      the    transcript     is     needed    to   decide      the   issue

presented by the suit or appeal.");                    see also Jefferies v.

Wainwricrht, 794 F.2d 1516,            1518   (11th Cir.      1986)    ("Denial of



      1      Although Defendant's            request    for pleadings         - not
transcripts - is not expressly governed by § 753(f),                            the
standard set forth in § 753(f) may be applied.  Similarly,
under 28 U.S.C. § 2250, the Court may direct the Clerk to
provide copies of documents or parts of the record at Court
expense, but a petitioner must demonstrate a particularized
need in relation to his habeas claims.   See Convington v.
United States, 2012 WL 3835085, at: *i (M.D. Fla. Sept. 4,
2012) .
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a free transcript to an indigent defendant is unconstitutional

only where the transcript is valuable to the defense and no

functional alternatives exist."); United States v. Mitchell,

2008 WL 824226,        at *1    (M.D.      Fla.    Mar.      26,   2008)       (A criminal

defendant       is   "not    statutorily         authorized,        as     a    matter    of

course,      to receive a copy of              . . . documents free of charge

post-appeal.").        Here, Petitioner has already demonstrated his

ability to adequately convey his habeas claims to this Court

and the      Eleventh Circuit,           and he        has   not   demonstrated that

these     documents     are    necessary          to    present      his       motion    for

reconsideration         to    the    Eleventh          Circuit.          Moreover,       the

Eleventh Circuit has           the   §    2255 motion and the Government's

response in its case file.

        In    short,    Defendant's            request        is   outside        of     the

acceptable practices of this Court in providing free copies of

documents, particularly where the documents are lengthy and

unnecessary.         Defendant may always make arrangements with the

Clerk's       office    to     pay       for    the      requested         documents.

Accordingly, Defendant's request (doc. 272) is DENIED,

        ORDER ENTERED at Augusta, Georgia, this                           / Cr^ day of
May,    2017.




                                               J. R^DM^HAKL, CHIEF JUDGE
                                               uniteVtbi?ates DISTRICT COURT
                                               SOUTHERN DISTRICT OF GEORGIA
